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                                             Filed 06/03/24 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number       24-CR-265

Robert Burke
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Timothy C. Parlatore, NY0332
                                                        (Attorney & Bar ID Number)
                                          Parlatore Law Group, LLP
                                                               (Firm Name)

                                          260 Madison Ave., 17th Floor
                                                             (Street Address)

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                                           (City)               (State)          (Zip)

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